Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 1 of 69 PagelD #: 1

~(V21- 6425

ORIGINAL

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK DeARCY HALL, J.

 

Vin pent <Syrder

 

 

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

-against-

By hed Ynruer af Seen § G

 

 

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

BLOOM, M.J.

Complaint for Employment
Discrimination

LP yp tea oe
Case wo ZFC $20 -202-/-©C5 22
(to be filled in by the Clerk's Office)

Jury Trial: @& Yes No
(check one)

 

 

Soh
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NOV 15 2021

 

 

 

 

 

PRO SE OFFICE

 
I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

 

additional pages if needed.
Name Von C ent SS hi de r
Street Address Z2Y Dean S772

 

City and County BELg AJ. 1/217 Kings
State and Zip Code _ AY, 1 } >)

Telephone Number 7/S- & Ws=-6977

EmailAddess <¢ettiShiderC. GOL, Com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,

. whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Pillied Unt versal Gcu oF) Co.
Job or Title PT ioiney- Qurda N Cad wel |
(if known) Lege/ Service Geour

Street Address Z 51 Wes hing fo Sheet Ste G00
City and County Lee Sh phe “ten EA

State and Zip Code 7 GY2.3

Telephone Number

E-mail Address
(if known)

 

 

Defendant No. 2

Name

Job or Title

(if known)
Street Address
City and County

 

 

 

 
State and Zip Code
Telephone Number ~

E-mail Address
Gf known)

 

 

 

C. Place of Employment

The address at which I sought employment or was employed by the defendant(s)

is:

Name ra A- feud Stamp Bul leon
Street Address 2 SOS. pest & 7 S f.

City and County Bk yn 22-4,

State and ZipCode WY 1 LEY

Telephone Number

 

 

I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that

apply):

O

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to-2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
from the Equal Employment Opportunity Commission. )
Ii.

O Other federal law (specify the federal law):

 

Oo Relevant state law (specify, if known):

 

Oo Relevant city or county law (specify, if known):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all
that apply):

O Failure to hire me.

J¥ = Termination of my employment.

O Failure to promote me.
a Failure to accommodate my disability.

O Unequal terms and conditions of my employment.

0 Retaliation.

Oo Other acts (specify):

 

(Note: Only those grounds raised in the charge filed with the Equal
Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)

Seen e ‘SY, ZC 20 feym Allied lemrters ah sfe-ting .
L seferated mysgelt. fren the Com pang (Af led line
I believe that defendant(s) (check one):

CO). is/are still committing these acts against me.
a is/are not still committing these acts against me,

Defendant(s) discriminated against me based on my (check all that apply and
explain):

race

 

color

 

gender/sex

 

religion

 

national origin

 

HDoooaag

‘age. My year of birth is . (Give your year of birth
only if you are asserting a claim of age discrimination.)
disability or perceived disability (specify disability)

See med ig al Aveurner/s, feb: hy EA, (3, b

The facts of my case are as follows. Attach additional pages if needed.

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fonder CGayc¢lusson_§

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A

 

 

 

 

(Note: As additional support for the facts of your claim, you may attach to this
complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights

division.)
Exhaustion of Federal Administrative Remedies

A.

Relief

_ It is my best recollection that I filed a charge with the Equal Employment

Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

/2-(4- 2020 42 ae f<28-30-7S

The Equal Employment Opportunity Commission (check one):

1 has not issued a Notice of Right to Sue letter.
i issued a Notice of Right to Sue letter, which I received on (date)
Lpember 2, 202/

(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

0 60 days or more have elapsed,
C} _less than 60 days have elapsed.

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

See Sma la tha ched Conlern 19 277 M971 r/ §

 

 

 

 

 
Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current

address on file with the Clerk’s Office may result in the dismissal of my case.
fle 15 VG.
Date of signing ¢/=#* _, 20 2!

Signature of Plaintiff Vn fd Feb

Printed Name of Plaintiff Vencent Sh,de -
 
    

/15/21_Page 8 of 69 PagelD #: 8
CeO il

During the Pandemic of 2020, | received a
_ letter from Allied Universal stating that | was
_ separated from the company.

This involuntary separation from the company
caused financial hardship and having no
medical coverage for myself, which ended

_ September 30, 2020, while still under
Doctor’s care caused, emotional stress.

~My Demands are as follows:

1). lam requesting a 2-4 year Severance Pay
Package which they should take in to account

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| + Wlov try rorwearad meply MIOre

&mail.aol.com
 
    

Iment 1 Filed 11/15/21 Page 9 of 69 PagelD #: 9
Ome Cail

OPEN

 

1). |am requesting a 2-4 year Severance Pay
Package which they should take in to account
the following:

a). Time in Service,

b). Medical Bills,

c). Unemployment Benefits,
d). COVID-19 Pay, and

e). Emotional stress.

2), Not to be penalized for the CIGNA
Disability Benefits (which | received $166 a
week for six months).

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oy woyV LO f WAAR \itore

a mail.aol.com
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 10 of 69 PagelD #: 10

EEOC Charge Update

tice

(ily LORESA LOCKETT
=" To scottshider@aol.com

Nov 2 at 10:59 AM

cos
© 4 attachments

Good Morning,

Attached, please find a Notice of Right to Sue.
No further action is required for the EEOC.
Thank you!

R/

Investigator Lockett
EEOC — New York District Office

33 Whitehall Street, 4th Floor
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rs rates, lees and terms apply

 

Blue Business® Plus
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Learn More

 

 

Monday
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

New York District Office

33 Whitehall Street, 5" Floor

New York, NY 10004-2112

Intake Information Group: (800) 669-4000
Intake Information Group TTY: (800) 669-6820
New York Direct Dial: (929) 506-5384

FAX (929) 506-5270

Website: www.ecoc.gov

 

Our Reference: Vincent Shider v. ALLIED UNIVERSAL SECURITY COMPANY
EEOC # 520-2020-05222

Vincent Shider
274 Dean Street, Apt. 2
Brooklyn, NY 11217

Dear Mr. Shider,

This is with reference to your correspondence and subsequent communication with this office in
which you alleged discrimination in violation of the Americans with Disabilities Act of 1990, as
amended by the above-named Respondent.

As discussed in our conversation on (November 1, 2021), a review of all available information
provided failed to indicate that a violation of the statute(s) has occurred; however, this does not
certify that Respondent is in compliance with the statutes. While we fully understand that the
parties to a charge often have very firm views that the evidence supports their respective positions,
our final determinations must comport with our interpretations of the available evidence and the
laws we enforce. For this reason, we will issue you a Dismissal and Notice of Rights, which will
enable you to file suit in U.S. District Court within 90 days of your receipt of that Notice if you
wish to pursue this matter further.

We regret that we could not be of further service to you in this matter.
Sincerely,

11/2/2021 L. Lockett

 

 

Date Investigator

cc. Attorney for Charging Party.
EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Vincent Shider From: New York District Office
274 Dean Street 33 Whitehall Street
Apt. 2 Sth Floor
Brooklyn, NY 11217 New York, NY 10004
[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Loresa A. Lockett,
520-2020-05222 Investigator (929) 506-5287

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

discrimination to file your charge

makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

Other (briefly state)

OO &BUUUL

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be

lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be collectible.

On behalf of the Commission

 

Enctosures(s) Judy A. Keenan, (Date Issued)
District Director

cc: Aurda N. Caldwell
Legal Services Group
ALLIED UNIVERSAL SECURITY COMPANY
161 Washington Street | Suite 600
Conshohocken, PA 19428
Enctosure with EEOC
Fom 161 (11/2020)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

_._ Title VIl of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
Office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vii, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made weil before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. if you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

 

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at
http://www.eceoc.gov/laws/types/disability regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

>» An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (c.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

VV

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.ccoc.gov/laws/types/disability_regulations.ctin.
EEOC Form 5 (1108)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is atfected by the Privacy Act of 1974. See encicsed Pri Act
Statement and other information before compiating this fom. ° CL] FEPA
[xX] EEoc 520-2020-05222
New York State Division Of Human Rights and EEOC
State or local Agency, if any

Name (indicate Mr.. Ms., Mrs.) Home Phone (incl. Area Code) Date of Birth
Mr. Vincent Shider (718) 506-6442

Street Address City, State and ZIP Code

274 Dean Street, Apt. 2, Brooklyn, NY 11217

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employes, Members Phone No. (include Area Code)
ALLIED UNIVERSAL SECURITY COMPANY Unknown (347) 418-3800
Straet Address City, State and ZIP Code

229 W 36th Street, NYC, NY 10018

 

 

 

 

 

Name No. Employees, Members Phone No. (include Araa Code)
Street Address City, State and ZIP Coda
OISCRIMINATION BASED ON (Check appropriate box(as).) DATE(S) DISCRIMINATION TOOK PLACE
Eartlest Latest
[|] RACE [| COLOR [] SEX [| RELIGION [] NATIONAL ORIGIN 06-30-2020 06-30-2020
[] RETALIATION [| AGE DISABILITY [| GENETIC INFORMATION
[| OTHER (Specify) [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach exira sheel(s)):
| Vincent Shider have reason to believe that | was discriminated against based on my disability (Prostate
Cancer) when my former employer, ALLIED UNIVERSAL SECURITY COMPANY, separated me from my
employment. My employment as a Security Officer at ALLIED UNIVERSAL SECURITY COMPANY began in
2016, when the company teok over management from the former owner, FJC. My initial employment with
FJC began on October 16, 2006.

During the 1* week of April 2020, | received a tetter dated April 13, 2020 from Mr. Darryl Johnson, Dir., of
Operation/HR. In this letter it stated, "your last day of work was March 26, 2020" and for me to contact him to
discuss my employment status. | spoke with Mr. Johnson concerning this matter. He informed me that | had
several options, as follows:

1). To quit and get re-hired

2). To take a 30 day Leave of Absence (LOA)

3). Temporary Disability

 

 

I want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge In accordance with their

 

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| daclare under penalty of perjury that the above is true and correct. the best of my knowledge, Information and beltef.
SIGNATURE OF COMPLAINANT

~” ; SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
/ 2 sf, Bw At eck (month, day, year)
a o

Date Charging Party Signature

 

 

 
GEOC Form 6 (11108)

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act [J FEPA
Statement and other information before completing this form.
[X] Ee0c 520-2020-05222
New York State Division Of Human Rights and EEOC

 

State or focal Agency, if any

 

| was instructed by my Radiologist to Shelter-In-Place during the high peak of the Pandemic, due me being
immunosuppressed with an increased risk of infection. This Doctor's letter was sent to Ms. Settles,
(Director/Supervisor) because she had text me April 13, 2020 at 11:20pm to report to the office the next day
at 11:30am for reassignment. On April 14, 2020, | had a Doctor's Appointment and via text message, |
informed Ms. Settles of this. Later that day of April 14, 2020 at 9:55pm, | received another text from Ms.
Settles to report at 1130am to the office for reassignment. | replied to Ms. Settles via text, to inform her that |
received cancer treatment. | also requested that she inform me at earlier times of when to report to the office,
so that travel arrangements can be made. My travel arrangements need to be made before 5:00pm each
day.

On April 15, 2020 again, | informed Ms. Settles that due to Medical reasons | was instructed to Shelter-In-
Place and provided Social Distancing rules. | received a text from Ms. Settles stating that she was just
informing me to report to the office for reassignment and that Security Officers who fail to report will not be
eligible for unemployment. | spoke with Mr. Johnson in reference to my employment status. At that time, |
was also letting him know of my Medical History and that | had chosen to take Temporary Disability to
continue my Medical Treatment. | was instructed by 32BJ (Union) to forward Medical Paper CIGNA to start
the process.

On April 29, 2020, again | informed Ms. Settles via text stating my reason for being unable to report for
reassignment was because of COVID-19. | also requested via text to forward the Doctor's Letter to Mr. Darryl
Johnson. Her reply via text was, "Hello, Okay".

On July 6, 2020, | called and spoke with Ms. Spencer, Dir., of Human Resources (HR) and informed her that
| received a letter from Allied Universal dated June 30, 2020, stating that "Shider was separated from
Company". Her reply was she would look into this matter, being that she was unaware of the Doctor's Letter
that | had sent to Ms. Settles.

On July 6, 2020, Ms. Spencer sent an email to Ms. Joanne Pham, Leave of Absence (LOA) Specialist stating
that the employee Vincent Shider #208484 was inadvertently deactivated on June 24, 2020 and that a LOA
request had already been generated for him (LOA #: 2020-0508-0258).

On July 6, 2020, | received an email from Ms. Pham, that was also sent to Ms. D. Spencer, Ms. Erin Boyler,
and Mr. Darryl Johnson, stating that she has viewed the request to have the “inactive” line removed, has
been submitted and processed.

On July 13, 2020, | called Ms. Spencer as a follow-up to the July 6, 2020 discussion concerning the
separation status. | received Ms. Spencer’s answering machine. | began receiving temporary disability
benefits at the end of June 2020. | stopped receiving benefits/medical insurance on September 30, 2020.

On October 13, 2020, | made another follow-up call to Ms. Spencer. To date, | have not received a response.

 

 

( want this charge filed with both the EEOC and the State or focal Agency, if any. | NOTARY — When necassary for State and Local Agency Requiramants
will advise the agencies if | change my address ar phone number and | will
cooperate fully with them In the processing of my charge in accordance with their

 

 

 

procedures. { swear or affirm that § have read the above charge and that it is true to
I daclare under panalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

/
fl SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
/ 2 Vf WH (month, day, year)
TF 7
date

Charging Party Signature

 

 

 
 

EEOC Form 5 (11/09)

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
ree cts aon semana ome [_] Fera
[x] EEoc 520-2020-05222
New York State Division Of Human Rights and EEOC

 

State or local Agency, if any

 

Based on the above, | believe | was discriminated against in violation of the Americans with Disabilities Act of
1980, as amended.

 

 

I want this charge filed with both the EEOC and the State or locat Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if ! change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

 

procedures. | swaar or affirm that ( have read the above charge and that it is true to
I declare under penalty of perjury that the above Is true and correct. the best of my knowledge, Information and bellef.
SIGNATURE OF COMPLAINANT

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Charging Party Signature

 

 

 
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 18 of 69 PagelD #: 18

Important Document Available for EEOC
Charge 520-2020-05222

U.S. Equal Employment Opportunity Comm...
lo scottshider@aol.com
Nov ? at 10:55 AM

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PY Load blocked images

U.S. Equal Employment
Opportunity Commission
New York District Office

EEOC has made a decision regarding charge
number 520-2020-05222. It is very important
that you download and retain a copy of this
document. You may review this decision by
logging into the EEOC Public Portal.

This email is an official notification from the
Equal Employment Opportunity Commission
(EEOC) regarding charge 520- eaaD- 05222.

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Vincent Shider EEOC #520-20-20-05222
Rebuttal to Allied Universal Disposition

1 FACTS
Paragraph 1 — No Rebuttal

Paragraph 2: Allied Universal (AU) Comment:

On or about March 27, 2020, Client Manager Shakeema Settles (“Ms. Settles”)
contacted Mr. Shider, as well as each employee who was removed from the site,
and asked him to report to her office for reassignment to another site. Employees
need to report in person so that they can sign their new schedule. Mr. Shider
responded and told her he would come to her office the following day, but he
failed to appear or contact her.

Rebuttal: | disagree with this statement made in Paragraph 2 sentence #3

On March 26, 2020, S/O Shider reported to work and was informed to go home.
S/O Shider was informed by Supervisor Ms. McCoy that Ms. Settles will be
contacting S/O Shider. | disagree with the statement cited above and the
statement made for April 6, 2020. Ms. Settles did not contact S/O Shider at any
time prior to the dates mentioned. Therefore, S/O Shider did not tell Ms. Settles
that ! would report to the office the next day. However, on April 13, 2020, at
11:20pm, Ms. Settles texted S/O Shider requesting that | report to the office on
April 14, 2020 at 11:30am for reassignment. On April 14, 2020 at 8:41 am, S/O
Shider texted Ms. Settles and informed her that | had a Doctor’s Appointment to
received cancer treatment (See Exhibit A - Doctor’s Letter dated April 14, 2020).

On April 14, 2020 at 9:55pm, Ms. Settles texted S/O Shider to report to the office
tomorrow (April 15, 2020) at 11:30am for reassignment. On April 14, 2020 at
11:25pm S/O Shider texted Ms. Settles and informed her that | had a Doctor’s
Appointment today (4/14/20), and received cancer shot/treatment and my body
is in pain. (See Exhibit A - Text Messages)
On April 15, 2020, at 2:10pm S/O Shider texted Ms. Settles and request if she
could text me within a timely manner (11:20pm on 4/13/2020) & (9:55pm on
4/14/2020) to make travel arrangements within the time allowed and that | was
also, following my Doctor’s advice to Shelter-In-Place and Social Distancing Rules.
(See Exhibit A - Text Messages & Doctor’s Letter dated 2/3/2020)

Paragraph 3 — Allied Universal (AU) Comment:

On or about April 6, 2020, Ms. Settles still had not heard from Mr. Shider and
informed Client Manager Darryl Johnson (“Mr. Johnson”) that Mr. Shider had not
reported for reassignment or returned her calls in over a week.

Rebuttal: | disagree with the statement cited above for April 6, 2020. Ms. Settles

did not contact S/O Shider at any time before April 13, 2020, (See Exhibit A - Text
Messages).

Allied Universal (AU) Comment: Mr. Johnson sent Mr. Shider a letter indicating

that he needed to contact him to discuss his employment status within the next
two weeks.

Rebuttal: On Monday, April 27, 2020 @ 10:45am Mr. Darryl Johnson, Director
called S/O Shider at home to informed me that | have four Options:

1). Go back to work:

2). Personal Leave Letter due to medical condition(s), 30 days

3). Go on Medical Disability

4). Deactivate myself and get re-hired

S/O Shider Informed Mr. Johnson that he would go on Medical Disability
The first Diability request was approved in 2019 with UNUM and the extended
Disability with Cigna.

Allied Universal (AU) Comment: Mr. Shider indicated that he would send
documentation of his health condition and would request disability benefits.

Rebuttal: On April 29, 2020 @ 4:28 pm a Doctor’s letter dated April 28, 2020, as
instructed, was submitted to FJC’s Ms. Settles, Director and in my text, message
dated 4/29, 2020 @4:28pm, | had also, requested that she forward the attached
Doctor’s letter to Mr. Johnson, Director. Her response was “Hello OK”. (See
Exhibit B - Doctor Letters dated May, 26 & 28, 2020 &UNUM Letter dated
October 11, 2019, Cigna Medical Request Forms & Text Message)

Paragraph 4 — Allied Universal (AU) Comment: Mr. Shider responded that he
was willing to report to the office but had been sheltering in place due to his

health condition, age, and social distancing. Mr. Shider then stated that he would
send his documentation for a leave of absence.

Also, comment mentioned in Sentence #5 “This was the first time Ms. Settles
became aware Mr. Shider’s disability.”

Rebuttal; Email dated January 11, 2020 was sent to Ms. Linda Dean, LOA
Specialist informing her that | will be faxing her the same documents | faxed to
the Disability Department. (See Exhibit C - email dated January 11, 2020 to Ms.
Linda Dean LOA Specialist & Disability Management Solution Form)

Rebuttal: However, on April 13, 2020, at 11:20pm, Ms. Settles texted me
requesting that | report to the office on April 14, 2020 at 11:30am for
reassignment. On April 14, 2020 at 8:41 am, | texted Ms. Settles and informed her
that | had a Doctor’s Appointment to received cancer shot/treatment. (See
Exhibit D Doctor’s Letters dated September 23, 2019, April 14, 2020, April 28,
2020 & Return To Work Release Form Allied Universal Service).

Paragraph 5 — Allied Universal (AU) Comment: On or about July 6, 2020, Allied
Universal retroactively sent a letter to Mr. Shider confirming his request for a
medical leave of absence beginning on March 26, 2020 with a projected return to
work date of June 8, 2020 and informing him of his eligibility for a medical leave
of absence subject to the completion of the Certification of Health Care Provider
for Employee’s Serious Health Condition form and final approval.

Rebuttal: | disagree with this statement | was under Doctor’s care during the
month of June 2020 (See Exhibit D - Doctor’s letter dated April 28, 2020)

Paragraph 6— Allied Universal (AU) Comment: Mr. Shider failed to contact the
Company after his expected return to work date passed. Per Company policy, if an
employee does not return from his or her leave of absence on the day indicated in
their original application or in any approved extension, the employee must
contact the Corporate Leave of Absence department in advance of his or her
scheduled return to work date. If the employee fails to maintain contact with the
Company upon the expiration of his or her approved leave, the employee may be
deemed to have resigned his or her employment.5 On or about July 6, 2020,
Leave of Absence Specialist Joanne Pham (“Ms. Pham”) contacted Human
Resources Manager Deborah Spencer (“Ms. Spencer”) to inquire if Mr. Shider had
returned to work or extended his leave of absence and requested any
documentation he may have provided.

Rebuttal: On July 6, 2020, S/O Shider called Ms. Spencer, HR spoke with her in
reference to letter received stating that “| separated myself from the company”.
Her comment was “she would look into it”. A follow up call was made to Ms.
Spencer on July/13, 2020, and had to leave a message on her answering service
concerning the same matter being that | had not hear from her. On September
14, 2020 @ 2:25pm, S/O Shider called Mr. Johnson, Director of FJC and requested
a Fax Number and he said “call Deborah Spencer”. At 2:29pm got her answering
machine. On October 13,2020, @ 10:00am called both Numbers and left
messages for her to return my call. | have not heard from Ms. Spencer concerning
my employment until May 25, 2021. On May 25. | received a call @ 4:23pm and
followed up with an email inference to her question asked (See Exhibit E - Post-It-
Notes, email dated May 26, 2020 @ 3:26pm, A Postal confirmation sent & Letter
dated August 17, 2020).

Paragraph 7— Allied Universal (AU) Comments: She also informed him that the
Company had not received anything from him confirming whether he was still
medically unable to work or if he was cleared by his doctor to return to work.

Rebuttal: An email was sent to Ms. Dean, LOA on January 12, 2020, stating that |
will be faxing her the same documents | had faxed to The Disability Department
on 9/16/2020 indicating when | can return to work. On January 19, 2021 she
confirmed that she had received the faxed papers. (See Exhibit F email dated
January 11, 2020 & Doctor’s Letter dated 4/28/2020 & Return To Work Release
Form Allied Universal Service & Certification of Healthcare Provider for Employees
Serious Conitions)

Paragraph 8- Allied Universal (AU) Comments: On or about on May 25, 2021,
Ms. Pham sent Mr. Shider a letter via email reminding him that his leave was
scheduled to end on September 30, 2020 and requested an update regarding his
estimated return-to-work date within five days.7 On or about.June 2, 2021, Mr.

Shider responded to Ms. Pham’s email and confirmed that.he would not return to
work for Allied Universal.

Rebuttal: | replied to Ms. Settles May 26, 2020 @ 3:56 & Ms. Pham via emails
dated May 30, 2021 @ 6:32pm (see Exhibit G - emails)

Paragraph 8— Allied Universal (AU) Comments: On or about May 25, 2021, Mr.
Shider called Ms. Spencer regarding the email from Ms. Pham and the status of
his benefits. This was the first time he contacted Ms. Spencer since he went ona
leave of absence. Ms. Spencer explained to him that his medical benefits are
handled through his union and that he should contact his union representative
regarding any issues with his benefits.

Rebuttal: | disagree with about statement, due to the facts that my benefits had
expired in 2020. There was no reason to inquire about benefits in the year 2021.

Numerous called were made to Ms. Spencer during the months of July,
September & October of 2020. Ms. Spencer finally contacted me via telephone
call on May 25,2021 @ 4:23pm and asked if | was willing to return back to work. |
did not hear from Ms. Spencer until she called me on May 25, 2021 @4:23pm. |
told her that | would get back in touch with her. | sent her an email with my reply
which said “Due to the circumstances and condition that | was subjected to, |
would feel very uncomfortable. (See Exhibit H -emails dated May 26, 2021
@3:56pm and | also sent a reply email to Ms. Joanne Pham dated May 25, 2021
@ 6:32pm responding to her same asked question concerning my employment).

CONCLUSION: The Company states that | did not get in touch with anyone during
my LOA. S/O Shider followed the Hierarchy of Commands and sent all required
documents and correspondents to the appropriate Employers/Departments in
reference to keeping his employment. All documents requested were submitted
in a timely manner.

On July 6, 2020, S/O Shider called Ms. Spencer, HR in reference to letter dated
6/30/2020 from Allied Universal stating “| separate myself from the company”.
Also, | followed up with a call on July 13, 2020, concerning this matter and | had to
leave several a message on her answering service. | finally received a call from Ms.
Spencer On May 26, 2021, asking if | will would be willing to return to work

A Doctor's letter dated April 28, 2020, as instructed was submitted via text
message to FJC’s Ms. Settles, Director and in my text, message dated 4/29/ 2020
@4:28pm, | had also, requested that she forward the attached Doctor’s letter to
FJC’s Mr. Johnson, Director. Her response was “Hello OK”. See all Medical Doctor
Letters, Medical Request Forms & Text Messages. A letter was also, dated August
17, 2020, to Allied Universal’s Leave of Absence Number 1614417

Medical Documents for Disability was submitted in a timely manner in order to
have received six (6) month of Medical Benefits.

Emails was sent to Ms. Pham, Boyer, Erin, Maguire, Vivian, cc: Johnson, Darryl all
employer of Allied Universal Security (aus) from Ms. Spencer dated July 6, 2020 @
9:26am stating that S/O Shider was inadvertently deactivated on 06/24. | still was
not informed to come to work (See Exhibit | — email date July 6, 2020).

On July 6, 2020, S/O Shider called Ms. Spencer, HR spoke with Ms. Spencer in
reference to letter received dated stating that “| separated myself from the
company”. Her comment was “she would look into it”. However, | called Ms.
Spencer inquiring about this letter because according to the above statement it
was supposed to have been corrected according to Ms. Pham email. (See Exhibit |
— email date July 6, 2020)

In the year of 2020 S/O Shider states “| Did Not Quit or Separate myself from
Allied Universal”.
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 25 of 69 PagelD #: 25

VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT A
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 26 of 69 PagelD #: 26

 

 

Memorial Sloan Kettering

 

[
Cancer Center s
4/14/20

To Whom It May Concern:

Vincent Shider attended an appointment at Memorial Sloan Kettering Cancer Center on

Tuesday, April 14'*. Please do not hesitate to contact us if you have any questions.

Best regards,

Brooklyn Infusion Center
Memorial Sloan Kettering Cancer Center

(718) 752-6210

MSKCC Brooklyn Infusion Center
557-1 Atlantic Avenue, Brooklyn, NY 11217 T 718.752.6200 F 718.752.6240
www.inskcc.org

NCI-designated Comprehensive Cancer Center
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& Recalculate a house payment with experts
Online or over the phone, Quicken loans is here t...

Vincent Shider ID# 208484

¥S me
To joanne. phani@aus com
May 30 at 6:32 PM

Hello Ms. Pham,

| am responding to your letter dated May 25, 2021
that | received Saturday, May 29, 2021. My response
to your letter is due to the circumstances and the
conditions | was subjected to | would feel very
uncomfortable.

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Settles. F.J.C. >

Apr 13, 2020, 11:20 PM

Hello please report to the office
tomorrow at 1130am for
reassignment.

Apr 14, 2020, 3°41 AM

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Hello please report to the office
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Apr 14, 2620, 11:25 PM

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Settles. F.J.C. >

 

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Settles. F.J.C. >

Hello the texts are simply telling
you to come to the office for
reassignment. However you
failed to come. Officers who fail
to report will not be eligible for
unemployment due to work
being available and you're just
not reporting to get a schedule

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I'm aware of the shelter in place
as the social distancing.
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office everyday this is why | text
you the night before to come
the next day.

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Memorial Sloan Hittosing
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Aaron Mitchell. MD
. Department of Medicine, Genitourinary Oncology Service
Memorial Sloan Metering Cancer Center New York

2/3/2020
Re: Shider, Vincent DOB: 5/1/1955
To whom it may concern,

Mr. Shider i 1s currently under my care at Memorial Sloan Kettering Cancer Center for
treatment of prostate cancer. He has frequent visits to our center which are vital to the
upkeep of his care. Mr. Shider will need access~a-ride services to take him to and from
his appointments.

Please feel free to contact my office at 646-888-4595 for further information or to help
answer r any questions.

Thank You,

-
Bry Wee ne yt
SP ats Shaye

Aaron Mitchell, M.D.

The Sidney Kimmel Center fox Prostate and Uzologic Cancers
Memeniat Sloan: Ke tering Cancer Center
383 Hast 68 Sizeet, New York, NY 10065
Tel: 646-888-2595 Pax: 646-227-2417
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VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT B
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Settles. F.J.C.

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Re: Shuler, Vincent DOB: 5/1/1955

To wham it may concem,
Mc. Viecent Shider is currently under my care and receiving treatment for prostate
cances. Duc to treatments he is currently immunosuppressed and at increased risk for
infection. For this reason he should -not currently be working during the COVED-19

information.o to-help

 

 

 
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 38 of 69 PagelD #: 38

Memorial Sloan Kettering
Cancer Center.

Aaron Mitchell, MD

Department of Medicine, Genitourinary Oncology Service
Memorial Sloan Kettering Cancer Center New York

5/26/2021

Re: Vincent Shider

DOB: 5/1/1955

To Whom it May Concern,

Mr. Shider is under my care at Memorial Sloan Kettering Cancer Center for early stage
prostate cancer. He is currently receiving hormonal therapy, which will finish later this
year. He has also completed radiation to the prostate. After treatment is complete, he will
be considered cancer free. He will remain at risk for recurrence and will need to have
monitoring with regular blood tests.

Thank You,

LL Er ety 88 gabe, ‘

Aaron Mitchell, M.D.

‘The Sidnacy Kimmel Center for Prostate and Urologic Cancers
Memorial Sloan Ketteting Cancer Center
453 Léast 68 Street, New York, NY 10005
‘Yel: 646-888-4595 ax: 646-227..2417
Unum ee @
The Benefits Center °
PO Box 100158 unum
Columbia, SC 29202-3158

Phone: 877-217-5488

Fax: 1-877-851-7624

WWW.UNnUITLCOmM
October 11, 2019

VINCENT SHIDER
274 DEAN ST #2
BROOKLYN, NY 11217

RE: —Shider, Vincent
Claim Number: 16227788
Policy Number: 422849
First Unum Life insurance Company

Dear Mr. Shider:

Thank you for providing the information needed for your Disability Benefits Law claim. Your
physician has released you to return to work on October 14, 2019 and your benefits have been
approved through October 13, 2019.

What We Need From You

Please let us know if there are any changes or complications within this anticipated recovery
time frame. We will need additional information to better understand how your condition
impacts your ability to return to work. If you cannot return to work on October 14, 2019 for
medical reasons, please have your attending physician(s) provide us with the following medical
information:

« Medical records (including treatment records, procedure records, physical therapy records
and test results) from all treating providers from October 01, 2019 through present.
» Restrictions and limitations (a list of things you should not and cannot do).

The information provided will assist us in the continued evaluation of your claim. A note from
your physician stating you are unable to return to work is not considered sufficient medical
documentation.

if we have not received the additional information by November 27, 2019, your claim will remain
closed.

How To Contact Us Or View Information About Your Claim
Mr. Shider, we hope this letter has been clear and helpful to you. If you have any questions or

would like to follow the status of your claim, you can do so conveniently through your secure
online account at www.unum.com/claims.

1242-03 UNUM IS A REGISTERED TRADEMARK ANO MARKETING BRAND OF UNUM GROUP AND ITS INSURING SUBSIDIARIES.
Claimant Name: Shider, Vincent October 11, 2019
Glaim Number: 16227788 Page 2 of 2

Through your account you have the option to:

« Go paperless and receive ail correspondence electronically;

e View the current status of your claim including outstanding information; and

e Upload documentation or provide new information to help us evaluate your claim and return
to work efforts.

You may also manage your leave with the Unum Customer App. The Unum Customer App is
available for Apple and Android.

After reviewing your online account, if you should have additional questions, please call me at
877-217-5488, extension 14573. {f | am unavailable to answer your call directly, our
experienced representatives are available to assist you from 8 a.m. to 8 p.m. Eastern Time,
Monday through Friday. We will identify your claim by your Social Security number or claim
number, so please have one of these available when you call.

Sincerely,

Donald Thomas

Donald Thomas
Disability Benefits Specialist
eal Bonuoer Pau FET [err ene Life "Accident «Disability — Gia
M edical Reg uést F orm C4 ne ah ; a Life Insurance Company of North America
Connecticut Goneral Life Insurance Company CIGNA

"Oyt SN be * 4 7 2 . “Ss 2. ( CIGNA Life Insurmnce Company of New York

We are evaluating your patient’s disability claim. Please respond to the following questions,

(Fatlure ta provide the reports may result in delay in the claim determination).

3 3 i } » fra Please provide coptes of supporting reports, such as office notes/conswtations testing.

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The Genetic Information Nendiscrimination Act of 2008 (GINA) prohibits employers and other entitles coverad by the GINA Title Il
from requesting or requiring ganetflc Information of employees or thelr family members. in order to campiy with this law, we are
asking that you not provida any genatie Information when responding to this request for medical Information, "Genetic Information,"
@s defined by GINA, Includes an individual's family medical history, the results of an individuat's of family member's genatic teste,
the fact that an Individual or en Individual’a femlly member sought or received genetlo servicas, and genatio Information of a fetus
carried by an Individual or an individual's family member or an embryo lawiully held by an Individual or family member recalving
assiative reproductive sarvicas.

 

Claimant Name: Date of Birth:
Vincent Shider 05/01/1955

 

 

What is the primary diagnosis?
Malignant neoplasm of prostate

 

What Is tha ICD-9 code: Date of injuryAliness: Is this condition work related?
c61 6/14/2019 ves Bdno

 

 

 

What are the spaclfic additional factors Impacting return to work, (f any?
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i Me; He °

 

 

 

 

 

 

 

 

 

 

 

 

 

VAN be:

When did you first treat your vallent Have you treated your paltent for this impairment prior to Date of laat visit: Whan Is your patient's
tor thia current impairment episcde? | this epiacde? next office visit?

6/26/2020 C] yes [] No ifyes, when? 7/10/2020 7/29/2020
Does treatment plan for this impairment episode Include any of the following? (Please fist as appropriate and provide supporting documentation)
QO Physical Therapy: oO Elactrodiagnostio Studios:
(C] surgery: [J tmaging Stuctes:
[] Speciatty Referral: L) other.
Please fis! all current medications that are related to thie impairment or impact return fo work: (Floase include dosage and frequency}

i] A

 

What are the spacific restrictions that you have placed on your patient?
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THEN Ure airy wy ised te ps Jypidet rttven te wk
At Home (Activities of Dally Living): ‘

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Could your patiant return to work at this time If accommodations were made fer the listod restrictions? §=[[] Yes [XJ No
If no, why not?

If no, based on your experiance, what is your bast estimate of when your patlant ean raturn ta work? WN Sy dee

 

 

 

 

 

 

 

 

 

With Reatrictions: 4. Without Restrictlona: _—

Physician Name (Please Prinl): Dagres & Specialty.
Dr. Justin Voog MD, PhD

Address: (Strest, City, Siala, Zip Coda) 41275 York Ave
"Telephone Number: Fax Number. Faderal Tax ID #:

( 2123639-3836 (  929}321-7153

: fe:
Physician Signature: A Lise 4 Da 7/21/2020

 

Gibise Rav. 04/2011
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 42 of 69 PagelD #: 42

VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

 

EXHIBIT C
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 43 of 69 PagelD #: 43
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@ mail.aol.com

 

Re: Your Leave of Absence - Allied
Universal Security

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Rl, Saal
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Ms. Linda Dean,

Vincent Shider, ID # 208484, tn response to
your email, | will be faxing to you on Tuesday,
January 12, 2021, the same documents | faxed
to the Disability Dept., from my doctor in
reference to the Disability. | had also sent this
information to the Disability Department
indicating when | can return to work. These
Papers were sent to that Department on
9/16/2020.

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Vincent Bhidsr OSAOT/A95S
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“Raron MAcoe Rea rag
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VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
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EXHIBIT D
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 46 of 69 PagelD #: 46

} Memorial Sloan Kettering
Cancer Center

 

4/14/20

To Whom It May Concern:

Vincent Shider attended an appointment at Memorial Sloan Kettering Cancer Center on

Tuesday, April 14". Please do not hesitate to contact us if you have any questions.

Best regards,

Brooklyn Infusion Center
Memorial Sloan Kettering Cancer Center

(718) 752-6210

MSKCC Brooklyn Infusion Center
557-1 Atlantic Avenue, Brooklyn, NY 11217 T 718.752.6200 F 718.752.6240

www.mskec.org
NCI-designated Comprehensive Cancer Center
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 47 of 69 PagelD #: 47

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'

Memorial Sloan Kettering
Cancer Center.

Aaron Mitchell, MD

Department of Medicine, Geni tourinary Oncology Service
Memorial Sloan Kettering Cancer Center New York

4/28//2020
Re: Shider, Vincent DOB: 5/1/1955
To whom it may concern,

Mr. Vincent Shider is currently under my care and receiving treatment for prostate
cancer. Due to treatments he is currently immunosuppressed and at increased risk for
infection. For this reason he should not currently be working during the COVID-19
pandemic.

Please feel free to contact my office at 646-888-4595 for further information or to help
answer any questions.

Thank You,

E-Bay Po Late

Aaron Mitchell, M.D.

The Sidney Kimmel Center for Prostate and Urologic Cancers
Memorial Sloan Kettering Cancer Center
353 East 68" Street, New York, NY 10065
‘Teh 646-888-1595 — [fax: 646-227-2497
From: 09/16/2020 11:51 #565 P.003

Soff

RETURN TO WORK RELEASE FORM: Allied Universal Services

TOBE COMPLETED BY THE EMPLOYEE aera
st
Name; Vincent Shider EID #;_ 208484 Shitt/2:3 °A, Vocation: 2% Gs b/ ¥

Cell Phone: VE-SUG-GETES | Home Phone’? /7- SIS -6F 2] Supervisor: /?S- Trnexy Licey

1 understand that it my release includes workplace restrictions ralated to my medical.condition, tt must reach the Leave of Absance (LOA) Department prior to my return
to work date. | undarstand that my return to work date may bo delayed so that my branch can avaluate any dentfled restrictions. Hf rastriotions are substanttalty imiting,
are éxpectad to continue longer than 3 months or are considered permanant, your raturn release will be reviewed under the ADAAA {Amerteans with Disabtilttes Act as
amended).

Lizneind fi hes (Llork 25, 200 <A tb Daye

Employéa Signature Last Day Worked Date

 

 

 

 

 

 

(1) This condition Is: YK Not work related. © Work related.

(2) Employee may:

eturn to work on (date) without restrictions.
A Aaturn to work on \ (date) with restrictions as indicated below through _\\ 22/202 (date),
Unable to raturn to work from (date} to (date) due to Incapacity or restrictions.
_.._Restrictlons listed below are PERMANENT.

 

(3) Employee may work full-time hours? O YES ONO

1fNO: Maximum hours/workday: ______Maximum hours/week: Employee may be aligiole for FMLA.

(4) WORK RESTRICTIONS
| tt. t i NONE OCCASIONALLY FREQUENTLY CONSTANTLY

0% 1-33% 54-64% 65-100%

     

Other ons (if any): Pa mo Voe. Weelsle ‘557 a wdeorkc | Chae. date Prgee,
Or May pec Mave. fren Lee Vaolwrer Ava lS

 

 

 

 

 

 

 

 

 

 

Must use crutches or splint or other CO YES + & NO | Abje to drive vehicle for work purposes, If appilcable
Specify othar: YES 0 NO OCOW/A
z£ Lo
Abie to work with others: GYYES 0 NO Able to give supervision, ll applicable: MYVYES CG] NO ON/A
No exposure to: Comments:
Doctor Signature: 4x4 Doctor Phone: _ 212-639-3836
Doctor Name: _Dr. Justin Voog Doctor Fax: 929-321-7153

 

Today's Date: _ 9/18/2020

Gonarat Infarmations This form helps gather return io work information and minimwa roease of madieal information whan returning from a LOA or use of Sick Leave for an amptoyes’s own
madies) condition. ton alternate releases torm fs used, please do not include diagnosis or troatmant Information, This form submited by the omptoyes to the LOA department,
For mora Information about warkpiace secommodattona under tio ADAAA, contact tha LOA Departmont at (714) 371-1002, fax (714) 371-1091 or emett LOA@aus.com.

GINA Gale Harbor Statoment: The Genetic Intormatinn Nondiscriminaltan Act (GINA) probibits amployars acd other entities cavared by GINA Title II trom requasting of roquiring genellc
(stormation of employees or thelr family mambers. In order to comply with this taw, we are aking thal you not provide any gonstic ntormaiton who cosponding to this request, ‘Genatic
information, a9 dotined oy GINA, lnctudes an Individuals family madical history, the raculta of an Individuars or famity mombars ganatic tatts, the lact that an individusd or an individuares famty
momber sought or recutved genatls sarvicos. and gondts laformation of a fetus carried by an Individual or an individual's tamily member or an ambryo lawtutly held oy an indlvidval or tamly

ambas recolying assistive rapraduestve services. + 04/2019

 
From: O3/16/2020 11:52 #565 P.OQ4a
Gof be
Certification of Health Care Provider for
Employee's Serious Health Condition

Employee Name: Vincent Shider Employee Id; 208484

Leave Number; 1614417

   
 

(cee OCR ien SMRomiad a aon AaEn Please give this form to your medical provider. The FMLA pemits an
employer to require that you submit a timely, complete, and sufficient medical certification to support a request
for FMLA leave due to your own serious health condition, Your response is required to obtain or retain the
benefit of FMLA protections. 29 U.S.C. §§ 2613, 2614(c)(3). Failure to provide a complete and sufficient
medical certification may result in a denial of your FMLA request. 20 C.F.R, § 825.313. Your employer must
give you at least 15 calendar days to return this form. 29 C.E.R. § 825.305(b).

Return a complete and sufficient medical certification to:

Attention: Leave Of Absence Department
By Email: LOA@aus.com

Or

By Fax: (714) 371-1091

 

 

(NEE erer ion SHiRO bd ela RUG ANe edad Your patient has requested leave under the FMLA,
Answer, fully and completely, ail applicable parts. Several questions seak a response as to the frequency or
duration of the condition, treatment, etc. Your answer should ba your best estimate based upon your medical
knowledge, experience, and examination of the patient. Be as specific as you can; terms such as “lifetime,”
“unknown,” or “indeterminate” may not be sufficient to determine FMLA coverage. Limit your responses to the
condition for which the employee is seeking leave. Please be sure to sign the form on the last page.

The Genetic Information Nondiscrimination Act of 2008 (GINA) prohibits employers and other entities covered by
GINA Title II from requesting or requiring genetic information of an individual or family member of the individual,
except as specifically allowed by this law. To comply with this law, we are asking that you not provide. any genetic
information when responding to this request for medical information, "Genetic Information" as defined by GINA
includes an individual's family medical history, the results of an individual's or family member's genetic tests, the
fact that an individual or an individual's family member sought of received genetic servicas, and genetic
information of a fetus carried by an individual or an individual's family member or an embryo lawfully held by an

individual or family member receiving assistive reproductive services.
Provider's name: Dr. Justin Voog
Business address: _ Memorial Sloan Kettering, 1275 York Ave NY. NY 10065

Type of practice / Medical specialty: _ Radiation oncology

Telephone: (__212}639-3836 Fax:(___929)321-7153

 

 

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6/14/2019

1, Approximate date condition commenced:

Probable duration of condition: 18 months.

Certification of Haalth Care Provider for Employee's Serious Health Condition MED 4 of 3

Modeled after Form WH-380-E Ravised: April 2019

 
From:

09/16/2020 11:52 #565 P.OOS

S cof &

Mark below as applicable:
Was the patient admitted for an overnight stay in a hospital, hospice, or residentia! medical care facility?

No __ Yes

if yes, dates of admission:

Ye We, My Yr, Ub, AB , 28
Date(s) you treated the patient for condition: _—- T7dlauys =x me ech G/2e1 ~ Li + Follow up cxppoivcte

Will the patient need to have treatment visits at least twice per year due to the condition? ___ No Vv Yes

 

Was medication, other than over-the-counter medication, prescribed? _ No “res

Was the patient referred to any other health care provider(s) for evaluation or treatment (e.g., physical
therapist)? No Yes

 

If yes, state the nature of. such treatments and expected duration of treatment:

-

. Is the medical condition pregnancy? XNo __ Yes If so, expected delivery date:

3. For the following question, use the job information provided by the employer. If the employer fails to

provide a list of the employee's essential functions or a job description, answer these questions based
upon the employee's own description of his/her job functions.

Is the employee unable to perform any of his/her job functions due to the condition: No “Yes
if yes, Identify the job functions the employee is unable to perform:

 

4. Describe other relevant medical facts, if any, related to the condition for which the employee seeks leave

 

EV Ue Ne Olen eat Naam) ele)

5, Will the empioyee be incapacitated for a single conpruous period of time due to his/her medical condition,

Cattification of Health Care Provider for Employee's Serious Health Condition
Modeled after Form WH-380-E Revised: April 2019

(such medical facts may include symptoms, diagnosis, or any regimen of continuing treatment such as the
use of specialized equipment): |

NOTE: In Catifornia and Connecticut, do not disclose the underlying diagnosis unless you have
received consent from the patient.

 

 

 

including any time for treatment and recovery? ~7 No __ Yes

If yes, estimate the beginning and ending dates for the period of incapacity: \ i Aigo. ¢ auprowstth

MED 2 of 3

 
From:

09/16/2020 11:53 #565 P.0O06

Gel G

6. Will the employee need to work part-time or on a reduced schedule because of the employee's
medical condition? _ No 1/Yes

if yes, are a reduced number of hours of work medically necessary? _ No _V¥es

Estimate the part-time or reduced work schedule the employee needs, if any:

5 hour (s) per day; S days per week from Af2A__ through 11/40

7. Will the employee need jovattend follow-up treatment appointments because of the employee's medical
condition? _ No Yes

Estimate treatment schedule, if any, including the dates of any scheduled appointments and the
time required for each appointment, including any recovery period (e.g. 1 appointment every 3
months, and requires 1 day of recovery per appointment):

a

Frequency: \ appointment(s) every week(s) or month(s}

 

Duration: 5 hours or____ day(s) per appointment

8. Will the condition cause episodic flare-ups periodically preventing the employee from performing his/her job
functions? No Yes

Is it medically necessary for the employee to be absent from work during the flare-ups? No _\-~% Yes

if yes, explain: <
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Based upon the patient's medical history and your knowledge of the nedical condition, estimate the
frequency of flare-ups and the duvation of related incapacity that the patient may have over the next 6
months (6.g., 1 episode every 3 months lasting 1-2 days):

Frequency: \ times per__\ _ week(s) or

Duration: hours or yO day(s) per episode

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fees 10/2/2020

 

Signature of Heatth Gare Provider Date

Certification of Health Care Provider for Employee's Serious Heaith Condition MED 3 of 3

Modeled after Form WH-380-E Revised: April 2019

 
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 52 of 69 PagelD #: 52

VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT E
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Case 1:21-cv-06425-
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$0.95

59.95
17" August, 2020

Allied Universal,
Leave of Absence Department,
1551 N. Tustin Avenue, Suite 650,

Santa Ana, CA 92705

RE : Vincent Shider Employment Status
Employee Number: 208484

Leave of Absence Number: 1614417

Dear Allied Universal Leave of Absence Department,

Tam writing to seek clarification of my current employment status with Allied Universal Security
Services. Regrettably, such has been necessitated by the numerous seemingly conflicting
communications which I have received on this subject to date.

I was under the impression I was on an authorized leave and in receipt of Short-Term
Disability/Medical Disability as a reasonable accommodation for a temporary disability in the form of
prostate cancer. This understanding was predicated on the express authorization of said leave and
because a current employee experiencing a temporary disability is protected by NY Human Rights
Law where the individual will be able to satisfactorily perform the duties of the job after a reasonable
accommodation in the form of a reasonable time for treatment and recovery. I was previously offered
Medical Disability as a reasonable accommodation for six months during 2019, concluding October,
2019 and it was made available as an option to you again in 2020 for the exact same medical
condition. In accepting this option, I accordingly tendered a letter from Dr. Aaron Mitchell M.D.
certifying this need for medical leave due to prostate cancer, dated 4/28/2020.

I received a letter dated 6/30/2020, merely identifying the sender as Allied Universal Security
Services with no signature or contact information. Therein, this letter advised me of a cessation of
benefits, the application of COBRA and denoted this was due to a separation from work on 6/24
without any specifics or prior communication. I had been authorized for a medical leave of absence
and was on short-term disability for this reason as supported by the certified illness letter from Dr
Mitchell dated 4/28 and furnished to Allied Universal and had no reason to believe there was any

separation.

On 6/30/2020, I received a Voluntary Exit Survey sent by Jim Ramsden, Vice President of Human
Resources at Allied International. In a survey, I stated that I had not separated from my employment.
Furthermore, rather confusingly there is the letter dated 7/06/2020 from the Allied Universal Leave of
Absence Department with the CHCP form requiring signing and execution by my health care
provider. This letter also covers the scenarios of re-certification requirements notification and
addresses same should an employee require an extension of their leave of absence. This
communication also detailed my eligibility for Medical Leave and ineligibility for FMLA. As a result
of this apparently conflicting correspondence, I understood my leave of absence was still expressly
authorized and not a voluntary or unauthorized separation. It appeared to contradict the previous
letters implying that I may have been terminated.

However, I then received a letter dated 7/18/2020 from MetLife declaring a change in benefits
effective 6/30/2020 and one of the reasons listed was due to a voluntary or involuntary separation
from employment and this appeared to be the only potentially applicable reason for such.

To further compound my confusion, I was in receipt of short term disability payments up to 7/27/2020
upon which these payments then ceased also without any warning, explanation or seeming adherence
to any other communication which I had received.

Based on the above summary of numerous conflicting communications, none of which actually ended
my medical leave or actually terminated my employment, I must seek to clarify my current
employment status as it is my understanding that I have been offered and granted a reasonable
accommodation due to my temporary disability and accompanying medical proof which I furnished.

Sincerely,

Vincent Shider
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VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT F
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 59 of 69 PagelD #: 59

5:20 ae > (pap

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@ mail.aol.com

 

Re: Your Leave of Absence - Allied
Universal Security

le linda.dean@aus.com

Aare Tb art 4 (eM

Ms. Linda Dean,

Vincent Shider, ID # 208484. In response to
your email, | will be faxing to you on Tuesday,
January 12, 2021, the same documents | faxed
to the Disability Dept., from my doctor in
reference to the Disability. | had also sent this
information to the Disability Department
indicating when | can return to work. These
Papers were sent to that Department on
9/16/2020.

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Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 60 of 69 PagelD #: 60

 

UIST
Re: Sher, VincentDOR: 5/1/1955

To whem ol may concer,

Ms. Vincent Shider is currently under my care and receiving treatment for prostate
cancer. Due t treatments he is currently immunosuppressed and at increased risk for
infection. For this reason he should not currently be working during the COVID-19
3 ‘ % i
. Please feel fice to contact my office at 646-888-4595 for further. information. ‘oF to’ ee: .

 

 

     
From: 09/16/2020 11:51 #565 P.003

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RETURN TO WORK RELEASE FORM: Allied Universal Services
an.
eyiee

; ve
Name; Vincent Shider = EID #;_ 208484 Shitty2/3 oA Vbeation: 2665 WF * none
Cell Phone: 7 ‘S “5 Ue “GOES Home Phone /7- LIS -6F 272 Supervisor:/7X Druexy [Utoy
? .

 

 

 

 

{understand that it my release ineludas workplace restrictions rejatad to Ihy Medical condition, tt must reach the Leave o

f Absence (LOA) Oepartment prior to my return

amended),

Lind fliiby

lo work date. | undérstend that my return to work data may ba relayed so that my bronoh can evaluate any Identi@ed restdctions. Hf rastrlotions aro eubstantlalty limiting,
are axpealed to continue longer than 3 months or are considerad permanent, your raturn ralgase will bo re

lack

vlowad cader the ADAAA (Americans with Disablilttos Act as

Zope

Se af # Bene

Date

(1) This condition Is: not work retated. =] Work ralated.,

(2) Employee may:
eturn to work on
Raturn to work on VA
.__.. Unable to raturn to work from
_.__.Restrictlons listed below are PERMANENT.

Last Day Worked

 

 

Empltoyée Signature

 

(date} without restrictions.
{date) with restrictions as Indicated balow trrough _\\/4o/202\ (date),
(data) to (date) dia to Incapacity or restrictions.

 

 

(3) Employee may work full-time hours? © YES C NO

{€ NO: Maximum hours/workday: Maximum hours/week: Employee may be eligible for FMLA,

(4) WORK RESTRICTIONS

OCCASIONALLY FREQUENTLY CONSTANTLY
65-100%

HONE

0% 1-33% 34-64%

     

Other AW ANYE Pa Ano. Ape, sedsle Age sews.

 

CH muy peep moe

Frequent

Vaottwrme Aa

 

Must use crutches or splint or other
Specify other:

OYES MW NO

Abjr to drive vehicle for work. pu’poses, If applicable
YES 0 NO CN/A

 

Lf.
Able to give supervision, if applicable, MYVES O NO OWN/A

ll
Abie to work with others: (YES Cl NO
Comments:

No exposure to:

 

 

 

 

 

4 Dew

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Doctor Phone: _ 212-839-3836
Doctor Fax: 929-321-7153

Doctor Signature:

CJ)
Doctor Name: Dr, Justin Voog
Today's Data: _ 9/18/2020

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The form Holps gather return to work iniarmation ard miinimiza roiecse of madiog! information whan roturnlng trem 9 LOA or uae ol Sick Loaya jor dn ompioys
modtesl oondition, Tran alternate ralonna form (9 uted, ploase do not lxctuda dlagnogis or treatmant Information, This form is sulrmitiad by tho omployas to tha LOA departmant,
For moro Information about warkpitea accommodations under the ADAAA, aortact the LOA Dapaitment at (714) 371-1002, fax (7.14)-374-1091 or emstl LOAWous.com.

( fF flag or requiring genatis
it: Tho Ganeiie Nondisel Act {GINA} 6 and other entities covered by GINA Tita H from raques
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information,' np delined by QINA, Imaludes an individuats family madical history, tro rosiite of an individuors or family mambars gonalle testa, the (ack inns an Individual or an tndlviduare famty
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Atsor
Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 62 of 69 PagelD #: 62

VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT G
Case 1:21-cv-06425-LDH-LB Documenti1 Filed 11/15/21

Quicken Loans = 4:
& Recalculate a house payment with experts

Online or over the phone, Quicken loans is here t...

Vincent Shider ID# 208484

YS me

To joanne.pham@aus.com
May 30 at 6:32 PM

Hello Ms. Pham,

| am responding to your letter dated May 25, 2021
that | received Saturday, May 29, 2021. My response
to your letter is due to the circumstances and the
conditions | was subjected to | would feel very
uncomfortable.

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Delete Move ta Forward Reply More

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See Your New House Payment wit...
Why Americans Are Refinancing Wit...

Learn More

 

 

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Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 64 of 69 PagelD #: 64

1:1 9 , > (& )»

@ mail.aol.com

 

Fwd: Vincent Shider ID# 208484

YS me

To joanne.pham@aus.com

Jun 2 at 2°56 PM

Hello Ms. Pham,

In response to your email dated June 1, 2021. No, | will not be
returning to work. Please refer to my EEOC New York District
Office Document sent to Allied Universal from Investigator Lockett.
it explains the conditions/circumstances that | was subjected to
along with my demands for compensation

Piease forward me the person name and address as to where |
can return the Uniform.

Vincent Shider
1D208484

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Case 1:21-cv-06425-LDH-LB Document1 Filed 11/15/21 Page 65 of 69 PagelD #: 65

VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
UNIVERSAL DISPOSITION

EXHIBIT H
Case 1:21-cv-06425-LDH-LB Documenti Filed 11/15/21

Quicken Loans > »«
Recalculate a house payment with experts
Online or over the phone, Quicken loans is here t...

Employee ID 208484

me
To Deborah Spencer
May 26 at 3:56 PM

 

Hello Mrs. Spencer

| am responding to your asked question on May 25,
2021 at 4:23 PM. You asked “if | was willing to
return back to work?”. My response to that is due
to the circumstances and conditions | was
subjected to, | would feel very uncomfortable.

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Delete Move to Forward Reply More

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VINCENT SHIDER EEOC #520-20-20-05222

VINCENT SHIDER REBUTTAL STATEMENTS TO ALLIED
- UNIVERSAL DISPOSITION

EXHIBIT |
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From: Spencer, Deborah

Sent: Monday, July 6, 2020 9:26 AM

To: Pham, Joanne <joanne.pham@aus.com>: Boyer, Erin
<Erin.Boyer@aus.com>: Maguire, Vivian <Vivian.Maguire @aus.com>
Cc: Johnson, Darryl <Darryl.Johnson@aus.com>

Subject: Vincent Shider # 208484

Tha above employee was inadvertently deactivated on 06/24 , The
manager didnt realize that aa LOA request had already been generated
for him LOA 2020-0508-0258 . Can we please remove the term line and
place the employee on Medical Leave ? Thank you

Deborah. Spencer
Regional HR Manager - Northeast Region

Allied Universal
33-10 ens Blvd|Ste 300] Long Island City, NY 111101
W: 347-418-3800 x16807| C: 929-206 -7063
deborah.spencer@aus.com

    

 

    

www.AUS.com
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rie l

From: Pham, Joanne <joanne.pham@aus.com>

Sent: Monday, July 6, 2020 6:13 PM

To: Spencer, Deborah <Deborah.Spencer@aus.com>; Boyer, Erin
<Erin.Boyer@aus.com>

Ce: Johnson, Darryl <Darryl.Johnson @aus.com>; AUS Leave of Absence
<loa@aus.com>

Subject: RE: Vincent Shider # 208484

Hello,

| had viewed the request. A request to have the inactive line removed has been
submitted. The leave has been processed with the effective start date of
03/27/2020 and the projected return to work date of 06/08/2020, which has
passed. If he has returned or extended his leave please let us know. If he has
provided you with any documentation, please provide. If not, attached is a copy
of his packet, which you can provide. Also his packet will be mailed out to him.

lf there are any further questions or changes regarding his leave, please let us
know.

Thank you,

Joanne Pham

Laave of Absence Specialist

Allied Universal
1551 N. Tustin Ave. | Suite 650 | Santa Ana, CA 92705

Hotline: 714.371.1092 | Fax: (714) 371-1091 | loa@aus.com

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